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                Employee Handbook




  This Employee Handbook applies to all employees of Highland Capital
   Management, L.P, Highland Capital Management Fund Advisors, L. P.,
Highland Capital Funds Distributor, Inc., Highland Capital of New York, Inc.,
       NexPoint Advisors, L.P., and NexPoint Residential Trust, Inc.




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           THE PURPOSE AND SCOPE OF THIS HANDBOOK
   This Handbook (the “Handbook”) is designed to inform employees of Highland
   Capital Management, L.P. and its Affiliates (collectively “Highland” or the
   “Company”) of the company's policies and practices. You should read the
   contents of this Handbook carefully and consult your supervisor if you have
   questions or desire additional information. Affiliates (“Affiliates”) is defined to
   include Highland Capital Management Fund Advisors, L. P., Highland Capital
   Funds Distributor, Inc., Highland Capital of New York, Inc., NexPoint Advisors,
   L.P., and NexPoint Residential Trust, Inc.

   This Employee Handbook is only a general guide to Highland’s current
   employment policies and to some of your responsibilities as an employee. It is
   informational only and is not intended to be and should not be construed as a
   contract of employment. From time to time, Highland reviews and makes revisions
   to its policies, procedures and benefits without notice. Highland reserves the right
   to modify the policies and procedures contained in this Handbook at any time.

   Included as part of this handbook is an Acknowledgment form. After you have
   read this handbook, you must sign and return the form to Human Resources.
  (Revised 06-15-17)

                   HIGHLAND EMPLOYMENT POLICIES
   Equal Employment Opportunity

   Highland is committed to a policy of equal employment opportunity. This means
   that employment decisions affecting applicants and employees will not be based
   upon the individual’s race, color, religion, gender, national origin, age, disability or
   any other unlawful basis. Employees who engage in such discrimination will be
   subject to disciplinary action, up to and including discharge from employment. If
   you feel you have been discriminated against, you should notify your supervisor,
   the Human Resources department, or any other person in management whom you
   are comfortable in approaching.

   Harassment and Discrimination

(Please see Sexual Harassment Addendum in New Hire Packet)

   Highland will not tolerate harassment or discrimination of its employees, whether
   committed by a fellow employee, a member of management, or a visitor to our
   workplace, such as a vendor, supplier or customer. Harassment or discrimination
   based on race, color, religion, gender, national origin, age, disability, sexual
   orientation or any other unlawful basis violates Company policy. All employees
   are responsible for ensuring that the workplace is free from harassment and
   discrimination. This policy also applies to work-related settings outside of the
   workplace, such as during business trips, business meetings and business-related

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   social events. All employees, including managers and supervisors, will be subject
   to disciplinary action, up to and including discharge from employment, for any act
   of harassment or discrimination they commit.

   Examples of prohibited harassment include, but are not limited to:

          Use of slurs, epithets or words that degrade an individual or group of
           individuals, even when used in a joking fashion;

          Unwelcome advances, demands or requests for sexual acts or favors, and
           other verbal or physical conduct of an offensive nature, such as leering,
           touching, gestures and graphic comments about another person’s body or
           personal conduct;

          Display of cartoons, email, photographs, drawings, pin-ups, posters,
           calendars, or images that are offensive or degrading to others;

          Conduct that has the purpose or effect of substantially interfering with an
           individual’s work performance or which creates an intimidating, hostile or
           offensive work environment; or

          Conditioning hire, continued employment, or terms and conditions of
           employment (such as raises, promotions, assignments) upon submission
           to sexual advances or requests for sexual favors.

   It is also unacceptable to shun or exclude an individual from participation in work
   or work-related social events in order to avoid allegations of harassment.

   If you feel you are being harassed or discriminated against, or if you have
   knowledge of harassment or discrimination of a co-worker, you should take
   immediate action to bring the matter to the attention of the Human Resources
   Department. If you are comfortable doing so, you should also advise the offender
   that his or her behavior is unwelcome and request that it stop. This approach is
   effective in situations where the offender truly does not realize that his or her
   conduct is offensive to others. If this does not work, or if you are not comfortable
   confronting the offender, notify your supervisor. If for any reason you do not feel
   comfortable discussing the matter with your supervisor, contact the Human
   Resources Department or any member of management whom you feel
   comfortable in approaching. All reports will be promptly investigated in as
   confidential a manner as possible. Based upon the findings of the investigation,
   Highland will take prompt and appropriate action to remedy any violations of this
   policy. Remedial action may include, but is not limited to, individual counseling,
   verbal warning, written warning, suspension, and discharge from employment,
   depending upon the nature of the offense.

   No employee who brings a good faith report of harassment or discrimination to the
   attention of the Company will suffer retaliation or other adverse employment


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   actions as a consequence. Any employee, including managers and supervisors,
   who is found to have retaliated against an employee who reported a violation of
   this policy, in good faith, will be subject to disciplinary action up to and including
   discharge from employment. It is important for employees to report incidents of
   harassment or discrimination because, without your assistance, violations could go
   undetected and uncorrected. Furthermore, if you feel you are being subjected to
   retaliation, please notify your supervisor, the Human Resources department, or
   any other member of management.

   Fraternization

   Consenting romantic or sexual relationships between a supervisor or manager and
   an employee may at some point lead to complications and significant difficulties
   for all concerned – the employee, the supervisor or manager, co-workers, and the
   Company. The problems can range from actual or perceived favoritism, lowered
   productivity, unfair alliances, to domestic disputes that can enter the workplace.

   As a result, the Company discourages such relationships and any conduct that is
   designed or may reasonably be expected to lead to the formation of a romantic or
   sexual relationship between a supervisor or manager and an employee. If such a
   relationship should exist or develop, the supervisor or manager must disclose the
   existence of the relationship to Human Resources within 2 weeks. The involved
   employee may also make the disclosure, but the burden of disclosure rests upon
   the supervisor or manager who is in the relationship with the employee. Upon
   notice, Human Resources may take all steps deemed necessary. At a minimum,
   the supervisor or manager and the employee will not be permitted to work together
   on the same matters, and the supervisor or manager must withdraw from
   participation in activities or decisions (including but not limited to hiring,
   evaluations, promotions, compensation, work assignments, discipline and
   discharge) that may reward or disadvantage the employee with whom the
   supervisor or manager is involved.

   The Company does not intend this policy to inhibit or discourage friendships or
   social activities that are or should be an important part of the work environment.
   This policy is not to be relied upon as justification or excuse for a supervisor or
   manager to refuse to engage in appropriate social interaction with employees.

   This policy will apply without regard to gender or sexual orientation of the parties to
   the romantic or sexual relationship.

   Non-Disparagement

   Highland is committed to promoting a culture of collaboration and ensuring a
   workplace where everyone is treated with dignity and respect, and Highland
   expects its employees to support that commitment by helping to maintain a
   workplace based on mutual understanding and cooperation. This means that
   employees should not make statements or remarks, whether oral or written, about
   other employees or former employees that could be found offensive,
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   discriminatory, disparaging, profane, derogatory, abusive, or maliciously false.
   Engaging in such conduct, or encouraging or instructing others to engage in such
   conduct, is strictly prohibited and will not be tolerated. However, to be very clear,
   nothing in this or any other Highland policy should be construed as prohibiting
   employees from engaging in concerted activity protected by the National Labor
   Relations Act.
  (Revised 03-29-17)

   Highland - An "At-Will” Employer

   The fact that you have been hired as an employee at Highland does not imply that
   the company has established any form of contractual arrangement with you. To
   the contrary, your employment relationship with the company is considered an
   "employment at-will" arrangement that either you or Highland may terminate at any
   time and for any reason. (Certain employees may have written employment
   contracts that govern the terms and conditions of their employment. If you are one
   of these employees, you will have been notified of your status as a contract
   employee at the time you were hired.) No employee except the President of the
   Company’s general partner may change or alter the at-will nature of the
   employment relationship, and then only by a written document signed by the
   President.

   Hiring Policies

      The Handbook Acknowledgment

      Each of Highland’s employees, both existing and new, must sign a Handbook
      acknowledgment. At the end of this booklet is a form acknowledging receipt of
      the Handbook. After you have completely reviewed this Handbook, this form
      must be detached from the Handbook, signed by you and returned to Human
      Resources. In addition, you will be expected to re-read and acknowledge
      compliance with the Employee Handbook at a minimum annually as a part of
      continued employment
      (Revised 03-29-17)




                        Items to be covered for Each New Employee

                     • Read the Highland Employee Handbook and sign the
                       Acknowledgment Form

                     • Learn about and sign required payroll and employment forms (I-
                       9, tax forms, etc.)

                     • Learn about your benefits and sign benefit enrollment forms



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                   • Learn about your specific job responsibilities and performance
                     standards

                   • Learn your work and lunch hours and the procedures to follow in
                     case of absence

      Once you accept employment with Highland, you are required to provide
      evidence of your right to work and verification of your identification within
      seventy-two hours of your hire date. Without appropriate documentation
      (completed and approved federal government Form I-9) you are subject to
      immediate termination of employment.

      Applicant Screening

      All new employees are required to undergo a background screening process,
      which includes providing historical Form W-2s and Wage and Tax Statements
      as part of their application. The purpose of applicant screening is to confirm
      past employment and research any other issues that Highland may consider
      relevant for employment qualification. These issues may include licenses and
      educational certifications, criminal records, driving records and others. In most
      cases the applicant screening process will be completed prior to the first day of
      Highland employment. Our offer of employment and your employment is
      contingent on the completion of applicant background screening to the
      satisfaction of Highland.
   (Revised 04-17-12)

      Nepotism

      There will be no hiring of close relatives such as spouses, parents,
      grandparents, siblings and children as full-time or part-time regular
      employees.
               HOURS OF WORK, PAYROLL INFORMATION &
                        PERSONNEL POLICIES
   Employment Classifications

   Employees at Highland are classified in several ways. Please see your supervisor
   if you have any questions concerning your employment status.

      Position Type

         Non-Exempt: Employees classified as hourly or non-exempt are paid
         for the actual number of hours they work and are eligible to receive
         overtime pay after working more than 40 hours in a work week.




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         Exempt: Employees classified as exempt are paid annual salaries
         which are divided into semi-monthly payments. They are not eligible to
         receive overtime pay.

      Work Schedule

         Full-time: Full-time employees are scheduled to work an average of 40
         hours or more per week on a continuing basis.

         Part-time: Part-time employees are scheduled to work an average of
         20 hours or more but less than 40 hours per week on a continuing basis.

   The Standard Work Day and Work Schedules

   Highland is open for business, meaning the switchboard is covered and the doors
   are open, between the hours of 7:30 a.m. and 5:30 p.m., Monday through Friday.
   Arrival and departure time for staff is determined by the business needs and
   schedules of each department and may be flexible in nature. Full-time hourly
   employees are generally expected to work a minimum of 50 hours per week. The
   department manager will set each individual’s specific work hours.
   (Revised 12-16-13)

   Overtime and Holiday Pay

   Hourly employees will be paid at the rate of 1 and 1/2 times their regular rate of
   pay for all hours actually worked in excess of 40 hours in any week. Paid time off
   and holidays are “hours worked” for purposes of calculating overtime pay, while
   unpaid leave is not included in “hours worked.” Overtime pay will normally be
   included in the paycheck following the pay period during which an employee works
   overtime hours. Exempt employees are not eligible for overtime compensation.

   If an employee is required to work on a holiday and he or she is a full-time hourly
   employee, they will have the option to be paid for all hours actually worked plus an
   additional eight hours at their regular rate of pay regardless of whether they have
   worked 40 hours or more in that work week, or to receive an extra floating PTO
   day to be used during the year and be paid for hours actually worked on the
   holiday.

   Pay Periods

   Highland employees are paid twice a month, on the 15 th and last day of the month.
   Upon hire, you will receive your first paycheck (prorated for number of days) on the
   regularly scheduled pay date. If you are scheduled to be on leave for a certain
   payday, see Human Resources to make arrangements for your paycheck to be
   held or deposited. Checks will not be issued in advance.

   If payday falls on a Holiday or weekend, you will be paid on the last scheduled
   workday prior to the Holiday or weekend.

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   (Revised 12-16-16)




   Direct Deposit

   Direct deposit is available to qualified NexBank customers. Employees may elect
   to have their paycheck deposited directly into their NexBank checking account,
   savings account, or a combination of these accounts. Direct deposit request forms
   are available from Human Resources. For further information regarding direct
   deposit, please see the Human Resources Department. Included below is the
   direct deposit policy and process:
   1. Establish an account through NexBank for direct deposit. NexBank will provide
      Highland Capital employees with free checking.

   2. For those employees who wish to use direct deposit to more than one account,
      Highland will permit employees to allocate their payroll checks through direct
      deposit in the following manner: direct deposit through their non-NexBank
      account of $200.00 per payroll check, and the balance through a NexBank
      account.

   3. In lieu of direct deposit as outlined above, employees may elect to receive their
      physical payroll checks which will be distributed at work on regularly scheduled
      payroll dates.

   (Revised 04-17-12)

   Payroll Deductions

   Highland will deduct all amounts required by law, such as federal income tax,
   social security and Medicare (FICA), or ordered by the court, such as wage
   garnishment. Highland will also deduct amounts authorized by employees in
   writing. If an employee believes there was an improper deduction from their pay,
   they should report it to Human Resources immediately so that any error can be
   promptly corrected or a proper deduction can be explained.

   Reimbursement of Business Expenses

   Employees will be reimbursed for all ordinary, reasonable and necessary business
   expenses they incur while conducting authorized Highland business. Please
   check with your Administrative Assistant or the Intranet for the specific policies and
   procedures for reimbursement of business expenses.
   (Revised 04-17-12)

               COMPENSATION & CAREER OPPORTUNITIES


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   Career Growth, Transfers and Promotions

   Highland is a growing company that encourages teamwork, initiative and
   continuous improvement.      As such, employees are expected to become
   knowledgeable and involved in all aspects of the business and to stretch across
   department boundaries in their daily work and in their career development.

   It is Highland’s policy to fill positions, where possible, through transfers and
   promotions of current employees. Open positions may be posted and an
   opportunity made available for an employee to express their interest in applying for
   the position. Employees are encouraged to pursue such opportunities for
   advancement. Employees should remain in a position for a minimum of one year
   before applying for an internal position. Also, employees must be in good standing
   (i.e., not on a corrective action plan or have been the recipient of a written warning
   within the last 12 months) in order to apply for an internal position. To apply for an
   internal position, employees must obtain manager approval and submit an
   Employee Transfer Request Form (available on the intranet) to Recruiting.
   (Revised 09-17-08)

                             EMPLOYEE BENEFITS
   Introduction

   Highland offers you a wide variety of benefits, depending on your employment
   status with the Company. Highland will provide Summary Plan Descriptions
   (“SPD”) regarding certain benefits. Please see the actual Plans or SPD, if
   applicable, for details concerning eligibility and benefits. Set out below is a list of
   benefits available upon eligibility.




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               Health and Life                Retirement
                Comprehensive Medical &       401k Plan with company
                 Dental Benefits                 match
                Short and Long Term           Discretionary Profit Sharing
                 Disability Benefits
                Life Insurance (GTL) and     Other Benefits
                 AD&D                          Professional Membership
                                                 Reimbursement
               Leave Benefits                  Health Club Membership
                Paid Time Off                 Employer Matching Gifts
                Paid Holidays                 Worker’s Compensation
                                                 Insurance
                                               Employee Referral
                                                 Gift
                                               Paid Parking
                                               Cell Phone Co-Pay/
                                                 Reimbursement
                                               In-Office Lunch

   (Revised 12-16-16)

   Differential Pay

   All New York employees will receive differential pay of $20.00 per day after 9:00
   p.m. EST to cover meals and cab fares.

   Cell Phone Benefit

   In order to be eligible for the $100/month cell phone service reimbursement,
   Highland employees are required to update their billing address with the cell
   carrier to the Highland Dallas office address and you must also request that
   detailed paper billing be activated. A paper copy of the detailed bill should be
   mailed by the carrier to Highland’s Dallas office.

   The Highland / AT&T co-pay plan is no longer accepting new entrants due to
   AT&T policies.
   (Revised 12-16-16)

   In consideration for Highland subsidizing employees’ cell phone expenses,
   employees must direct their cell phone carrier to activate detailed paper billing for
   their mobile phone that is subsidized by Highland and also direct the carrier to
   send the detailed paper bill to Highland’s Dallas office address (300 Crescent
   Court, Suite 700, Dallas, TX 75201). Employees who choose to activate detailed
   paper billing and to have the paper bill sent to Highland must initiate the change
   with AT&T within five (5) days of the date that they choose to participate in this
   policy. Participating employees may not change the paper billing settings without

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   concurrently notifying Human Resources, in writing, of the change. Participating
   employees for whom Highland does not receive a detailed paper bill will be
   ineligible for reimbursement and liable to Highland for repayment of the full
   reimbursement amount received during any month in which Highland does not
   receive the detailed paper bill. Participating employees expressly authorize
   Highland to make any deductions from their compensation necessary to fulfill
   repayment obligations.

   Participation in this policy is entirely voluntary. Should you wish to participate, you
   must complete the steps above and then send Human Resources an email
   confirming you have completed these steps. Employees who choose not to
   participate will have the level of applicable reimbursement limited to that set forth
   in the table below. Employees who choose to participate in this policy may later
   terminate their participation, and have future reimbursement limited to that set
   forth in the table below, by providing at least fourteen (14) days advance written
   notice to Human Resources. Your obligations under this policy shall terminate
   upon the termination of your employment, provided that you will remain obligated
   to furnish historical call records covering the period through the date of your
   termination, as requested, following the termination of your employment.

   Employees participating in this policy should have no expectation of privacy
   regarding e-mail, voice mail, text messages, graphics, and other electronic data
   composed, sent, and/or received on their cell phones. Notwithstanding the
   foregoing, Highland agrees not to review any call records on an employee’s bill
   other than those associated with the phone number of employee. Further,
   regardless of whether employees choose to participate in this policy, all e-mail,
   voice mail, text messages, graphics, and other electronic data composed, sent,
   and/or received related to company business remain the property of Highland.
   Finally, employees are reminded that, at all times, they are expected to abide by
   Highland’s applicable codes of conduct and employment policies.

   You also agree to waive any and all claims you may have against Highland or any
   of its Affiliates related to this new policy, including, but not limited to, claims for
   invasion of privacy, and authorize Highland to access, view, and possess your cell
   phone records and billing information.

    Non- Participating Employee Reimbursement Limits

   Fixed reimbursement of $5/month for data

   $0.09 / minute reimbursement for business related mobile calls

   Must submit detailed invoice with business calls highlighted

   Reimbursement provided once per quarter upon submission of appropriate
   documents



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   (Revised 12-16-16)

   Professional Membership Reimbursement Program

   In addition to encouraging you to continue your education and training, Highland
   also supports your involvement and participation in professional groups and
   associations that represent your field. With the written permission of your
   supervisor, Highland may pay up to 100% for any reasonable professional
   organization membership dues or fees. Where the company has specifically
   requested that you join an organization, 100% of your membership dues or fees
   will be paid. See Human Resources for more information on this program.

   Employee Referral Awards Program

   If you know someone who is qualified for an open position at Highland, please
   submit his/her name to Recruiting. If the person you identified is hired, you will
   receive a gift from Highland after the referred individual has been an employee
   with Highland for six months. The hiring manager of a referred employee is not
   eligible to receive a referral award.
   (Revised 09-17-08)

   Matching Charitable Gifts

   Highland is committed to supporting the work of charitable, non-profit
   organizations. Therefore, Highland will match employee contributions to qualified
   organizations up to a maximum of $300 per employee per calendar year. Please
   note that this policy does not include gifts to political campaign funds.

   Contact Highland Capital Management’s Fund Accounting team to submit your
   request for a matching charitable gift. Requests for charitable donations that
   exceed the $300 annual threshold should be submitted to the Corporate
   Accounting team for review by the President.
   (Revised 04-17-12)

   Paid Time Off

   Employees that work 20 or more hours per week may be eligible for paid time off
   (PTO). PTO is awarded at the beginning of the year and accrues throughout the
   year. PTO is awarded each calendar year as follows:

        Employment Classification                         Annual Days Earned

        Non-exempt                                        15
        Exempt                                            17
        Managing Directors, tenured Directors*            19
        New Team Leaders                                  22

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        Tenured Team Leaders/Partners                      24

   *Directors with 3+ years of Highland tenure

   New hires will receive a prorated amount of PTO to use between the date of hire
   and the end of the calendar year. Part-time employees receive a prorated amount
   of PTO based on their target hours.

   Highland reserves the right to modify or terminate the PTO policy at any time.
   (Revised 04-17-12)

   Approval for PTO
      Please note that, as with other planned leaves, employees must notify their
      Manager prior to taking PTO. All vacation requests must be submitted
      through TimeKeeper and approved by the employee’s Manager. Generally, a
      minimum of two weeks prior notice is required to receive approval for taking
      paid time off. Exceptions to this notice period may be made for personal or
      family emergencies. Failure to directly notify an employee’s supervisor in
      advance of taking PTO may result in the request for leave being denied, the
      leave being without pay, or corrective action, up to and including termination
      of employment.

   PTO for Non-Exempt Employees
      Each day of PTO will be compensated at ten (10) hours for non-exempt, full-
      time (50 hours/week) employees. A day of PTO for a part-time hourly
      employee will be based upon their weekly hours (e.g., 30 hours/week
      receives 6 hours for PTO day). PTO is treated as “hours worked” for
      purposes of calculating overtime pay.

   PTO for Team Leader, Managing Directors, and tenured Directors
      Team Leaders, Managing Directors and tenured Directors must take a portion
      of their PTO during the following periods:
              Week of Spring Break
              Week of July 4th
              Any two weeks in August
              Rosh Hashanah
              Week of Thanksgiving
              Any two weeks in December
              Any Friday before or Monday following a 3-day weekend
      On an annual basis, Managing Directors and tenured Directors should take 9
      days of PTO or floating days during the periods listed above. Team Leaders
      should take 19 days of PTO or floating days during the periods listed above.
   (Revised 12-16-16)


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    Rollover and Borrowed PTO
       Employees should use their PTO in the year it was granted, but up to ten (10)
       days of Regular PTO may be rolled over each calendar year. Additional
       rollover may be authorized by the President. An employee’s cumulative
       rollover PTO balance may exceed ten days if he or she has accumulated
       rollover from more than one year.
       An employee may borrow PTO from the upcoming year with approval from
       the President. Employees must use all remaining PTO prior to requesting
       borrowed PTO.
    (Revised 04-17-12)

    Boondoggle Time Off
       Some employees receive additional time off for boondoggles. Boondoggle
       PTO hours should be used for non-work activities with clients, such as
       hunting trips, golf outings, skiing trips, etc. Boondoggle time is not eligible for
       rollover.


    Unpaid Time Off
       Under special circumstances, employees may request unpaid time off.
       Unpaid time off requests should be approved by the President. Employees
       must use all remaining PTO prior to requesting unpaid time off. Unauthorized
       unpaid time off may result in corrective action, up to and including
       termination.

    PTO at Termination
       Accrued unused PTO is paid out to employees that resign or retire and give
       their supervisor at least two weeks written notice. After providing written
       notice employees must work a reasonable transition period, as determined by
       their supervisor, of up to two weeks.
       Employees who provide notice of resignation or retirement when their direct
       supervisor is not physically present in the office (e.g., on vacation or a
       business trip) are not entitled to accrued unused PTO upon termination of
       employment. Also, employees who are involuntarily terminated by Highland
       are not entitled to accrued unused PTO upon termination of employment.
       Entitlement to accrued unused PTO upon termination of employment is also
       contingent, where applicable, upon compliance with the Post-Employment
       Contact with Investors, Prospective Investors, and Counterparties policy,
       which can found in this Employee Handbook.

       If, upon termination, an employee has used more than their leave accrual for
       the year, Highland will deduct the amount of the overage from their final
       paycheck.

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       (Revised 04/17/2012)

   Holidays and Floating Days

   Scheduled Holidays
      Highland observes eleven (11) paid holidays each year.                Highland’s
      scheduled holidays are as follows:
              New Year’s Day
              Martin Luther King, Jr. Day
              Presidents Day
              Good Friday
              Memorial Day
              Independence Day
              Friday before Labor Day
              Labor Day
              Thanksgiving Day
              Friday after Thanksgiving
              Christmas Day
      The holidays will be compensated at ten (10) hours for non-exempt, full-time
      employees (50 hours/week). Holidays are “hours worked” for purposes of
      calculating overtime pay.
      If a holiday falls during an employee’s scheduled vacation (PTO), the day will
      be counted as holiday instead of PTO. If a holiday falls on a Saturday or
      Sunday, the company will designate, in advance, what day will be treated as
      a holiday. Paid holidays are not granted during unpaid leaves of absence.
   (Revised 12-16-16)

   Floating Days
      Employees are also eligible for two (2) floating holidays each year to be used
      at their discretion. Unused floating days may not be carried over to the next
      calendar year. Generally, a minimum of two weeks prior notice to the
      employee’s supervisor is required to receive approval for the floating day.
      Failure to directly notify a supervisor in advance may result in the request for
      a floating day being denied, the leave being without pay, or corrective action,
      up to and including termination of employment.
      (Revised 09-17-08)

   Workers’ Compensation

   Highland provides workers’ compensation coverage for employees who have been
   injured on the job or who have sustained an occupational illness. Every employee
   who is injured on the job should report the injury immediately to his or her
   supervisor. The supervisor will complete an accident investigation report and


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   coordinate with the Human Resources Department toward the completion of the
   necessary paperwork to apply for workers’ compensation benefits.

   Long and Short Term Disability Policies

   Highland has long-term and short-term disability plans. The Company will provide
   a Summary Plan Description regarding these plans.

   FMLA Policy

   Purpose

   Highland Capital Management, L.P. complies with the provisions of the Family and
   Medical Leave Act ("FMLA"). Where State or local family and medical leave laws
   offer more protections or benefits to employees, the protections or benefits
   provided by such laws will apply. Highland Capital Management, L.P. has created
   this policy to outline the conditions under which an employee may request time off
   without pay for a limited period with job protection and no loss of accumulated
   service if the employee returns to work.



   Scope

      This policy applies to all family and medical leaves of absence including
      leaves that are covered under paid employment benefit plans or policies for
      any part of the leave to which the employee may be entitled under this policy.
      In other words, if an employee is entitled to both FMLA leave and paid leave
      under another benefit plan or policy, the employee is required to use all
      applicable paid leave plans or policies before unpaid leave and the FMLA
      leave and the paid leave will run concurrently.

   Employee Eligibility

      To be eligible for leave under this policy, an employee must have been
      employed here for at least 12 months and must have worked at least 1,250
      hours during the 12-month period preceding the beginning of the leave. An
      employee must also establish the existence of a qualifying event in order to
      be entitled to leave under this policy.

   Qualifying Events

      Eligible employees are entitled to a total of 12 workweeks of leave during any
      calendar year when leave is taken for one or more of the following qualifying
      events:

      (1) birth and care of the employee’s newborn child;


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       (2) placement of a child with the employee for adoption, or by the State for
       foster care;

       (3) to care for the employee's spouse, child or parent (called a "Covered
       Relation") with a serious health condition (this does not include in-laws);

       (4) the employee's own serious health condition which prevents him or her
       from performing the essential functions of the job, including workers'
       compensation leaves;

       (5) existence of a "Qualifying Exigency"; or

       (6) To care for "covered service member."

       A "child" does not have to be a biological child. A "parent" does not need to
       be a biological parent as long as the person stood "in loco parentis" (in the
       place of the parent) to the employee when the employee was a "son" or
       "daughter." FMLA leave may be taken to care for adopted children, foster
       children, legal wards, or a niece, nephew or grandchild whom the employee is
       actively raising. A "son or daughter" includes a child 18 years or over who is
       "incapable of self-care because of a mental or physical disability." An
       individual with a disability is a person who has a physical or mental
       impairment that substantially limits one or more major life activities.

       For FMLA purposes, a "spouse" is defined in accordance with applicable
       state law and may include common-law spouses in states where common-law
       marriages are recognized. Unmarried domestic partners generally do not
       qualify as spouses under the FMLA.
         Serious Health Condition

            For FMLA purposes, when an employee takes FMLA leave for his/her own
            serious health condition, this means the employee has a mental or
            physical illness, injury or impairment that involves inpatient care (including
            any ensuing period of incapacity) or continued treatment by a health care
            provider. Continued treatment by a health care provider means the
            following: (1) incapacity for more than three calendar days plus two or
            more doctor's visits or one visit plus treatment (prescribed medication or
            therapy); (2) incapacity due to pregnancy, or for prenatal care; (3)
            incapacity due to a chronic condition involving periodic medical visits for
            treatment of recurring or episodic conditions (such as asthma, diabetes or
            epilepsy); (4) permanent or long-term incapacity (such as Alzheimer's,
            severe stroke or terminal stages of a disease); or (5) an absence to
            receive treatment for restorative surgery after an accident or other injury,
            or for treatment of a condition that would result in incapacity if left
            untreated (such as chemotherapy for cancer, physical therapy for severe
            arthritis, or dialysis for kidney disease).


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         Qualifying Exigency

            A right to Qualifying Exigency leave arises when a child, spouse or parent
            of an employee is on active duty or has been notified of an impending call
            to active duty in support of a contingency operation. A contingency
            operation includes:

                 any operation designated by Secretary of Defense in which the
                  armed forces are or may become involved in military actions,
                  operations or restitutions against an enemy of the U.S.; or

                 results in the active duty of members of the armed forces during a
                  war or national emergency declared by the President or Congress; or

                 action in response to events such as natural disasters, turnout or
                  subservice activities or required military operations.

            Examples of Qualifying Exigencies include the following: arranging for
            child or elder care in the service member's absence, assisting with
            economic or legal concerns, attending official ceremonies/programs,
            attending the service member's farewell or arrival, attending to affairs
            caused by the missing status or death of a service member.

         Covered Service Member

            A right to leave under this provision of the policy arises when an employee
            must care for a child, spouse, parent or next of kin of an employee, who is
            a member of the armed forces and that service member is undergoing
            medical treatment, recuperation or therapy, is on outpatient status of a
            military medical treatment facility, or is otherwise on the temporary
            disability retired list for a serious injury or illness. For purposes of covered
            service member leave, a "serious illness or injury" means an injury or
            illness incurred while on active duty in the armed forces which renders the
            service member medically unfit to perform the duties of their office, grade,
            rank or rating.

    Amount of Leave

       Eligible employees may take up to twelve weeks of leave during a rolling
       twelve month period for the first five categories of leave outlined above.

       Eligible employees may take up to 26 weeks of leave to care for a covered
       service member during a 12 month period. Leave to care for an injured or ill
       servicemember, when combined with other FMLA-qualifying leave, may not
       exceed 26 weeks in a single 12-month period. For example, employees who
       have used 12 weeks of FMLA for any of the other categories described above
       are only entitled to 14 weeks of covered service member leave. In addition,


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       Servicemember FMLA runs concurrent with other leave entitlements provided
       under federal, state and local law.

       For purposes of determining whether employees have exhausted their FMLA
       leave entitlement under this policy, the twelve month period is determined by
       measuring backward from the date an employee takes any FMLA leave. In
       other words, any FMLA leave that was taken by the employee during the 12
       months preceding the date that the employee takes additional FMLA leave
       will be counted to determine the amount of FMLA leave remaining.

       Both Spouses Working for the Company

            Spouses who are employed by the Company, and who request FMLA
            leave for the birth, adoption, or foster care placement of a child with the
            employee, are eligible for a combined twelve weeks between the two
            employees. For example, both employees continue to be eligible for
            twelve weeks of leave apiece for their own serious health condition, but
            may only take twelve weeks between them for the birth or placement of a
            child. If the leave is for birth, adoption or foster placement of a child with
            the employee, available leave can be taken before the event and any time
            during the 12 months after the birth or placement

            Similarly, spouses who are employed by the Company, and who request
            FMLA leave to care for a covered servicemember, are eligible for a
            combined 26 weeks between the two employees. In other words, both
            employees may only take twenty-six weeks of leave between them for this
            event.



    Conditions of Leave

       Employee Notification and Reporting Requirements

            If the reason for the FMLA leave is foreseeable (such as planned
            surgeries or normal births), the employee is to give the Company at least
            30 days written notice. Similarly, if the need for exigency leave is
            foreseeable, such as receipt of advance notification of impending call to
            active duty, the employee must give the company advance written notice
            of the need for leave. If the need for leave is not foreseeable (such as a
            car accident or premature birth or injury of a covered service member),
            the employee is expected to notify the Company as soon as possible and,
            in no event, more than (2) two business days after knowing of the need for
            leave, except in extraordinary circumstances. Failure to provide such
            notice may be grounds for delay of leave. Additionally, if you are planning
            a medical treatment you must consult with the Company first regarding
            the dates of such treatment.          The Company has Request for


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            Family/Medical Leave forms available from the Human Resources
            Department. You should use these forms when requesting leave.

            If you take leave because of your own serious health condition or to care
            for a Covered Relation, you may be required to contact the Company on a
            regular basis regarding the status of the condition and your intention to
            return to work. A reporting schedule will be worked out with the Human
            Resources Department.

         Intermittent and Reduced Schedule Leave

            Leave because of a serious health condition, Qualifying Exigency, or
            covered service member leave may be taken intermittently (in separate
            blocks of time or on a reduced leave schedule, reducing the usual number
            of hours you work per workweek or workday) if medically necessary. In
            addition, while you are on an intermittent or reduced schedule leave, the
            Company may temporarily transfer you to an available alternative position
            which better accommodates your recurring leave and has equivalent pay
            and benefits.

         Medical Certification

            If you are requesting leave because of your own or a Covered Relation's
            serious health condition, you may obtain a Medical Certification Form from
            the Human Resources Department. You and the relevant health care
            provider must supply appropriate medical certification to the Human
            Resources Department within 15 calendar days of receiving the Medical
            Certification Form. If you provide at least thirty (30) days' notice of
            medical leave, you should also provide the medical certification before
            leave begins. Failure to provide requested medical certification in a timely
            manner may result in denial of leave.

            Highland Capital Management, L.P., at its expense, may require an
            examination by a second health care provider designated by the
            Company, if it reasonably doubts the medical certification you initially
            provide. If the second health care provider's opinion conflicts with the
            original medical certification, the Company, at its expense, may require a
            third, mutually agreeable, health care provider to conduct an examination
            and provide a final and binding opinion. The Company may require
            subsequent medical recertification. Failure to provide requested
            certification within fifteen (15) days of the Company’s request, if such is
            practicable, may result in delay of further leave until it is provided.

         Certification for Exigency Leave

            Employees seeking exigency leave will be required to provide
            confirmation of the service member's activation or active duty status and
            certification that leave is needed due to a Qualifying Exigency.

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         Certification for Covered Service Member Leave

            Employees seeking leave to care for a covered service member must
            provide certification to establish that a service member has a serious
            injury or illness incurred in the line of duty while in active status.

    Status of Employee Benefits During Leave of Absence

       Medical and Other Benefits

            During an approved family/medical leave, Highland Capital Management,
            L.P. will maintain your medical, dental, and life benefits as if you
            continued to be actively employed. If you elect not to return to work for at
            least thirty (30) calendar days at the end of the leave period, you may be
            required to reimburse the Company for the cost of the benefit premiums
            paid by the Company for maintaining coverage during your unpaid leave,
            unless you cannot return to work because of a serious health condition or
            other circumstances beyond your control.

            An employee will not accrue vacation during a FMLA leave. An employee
            on FMLA leave is not eligible for holiday pay for a holiday which falls
            during a FMLA leave.

 Leave Is Unpaid

            Leave provided under this policy is unpaid leave, although you may be
            eligible for short or long-term disability payments and/or workers'
            compensation benefits under those insurance plans or policies if you are
            taking leave for your own serious health condition. If you are entitled to
            receive money from these sources, your leave will be considered "paid
            leave" for the period during which you receive that money.

            If your leave is "unpaid" leave you will be required to substitute paid time
            off (vacation, personal days) for "unpaid" FMLA leave as described below.
            If you request leave because of a birth, adoption or foster care placement
            of a child, any accrued paid vacation and personal days first will be
            substituted for unpaid family/medical leave. If you request leave because
            of your own serious health condition, or to care for a Covered Relation
            with a serious health condition, any accrued paid vacation and personal
            days first will be substituted for any unpaid family/medical leave. The
            substitution of paid leave time for unpaid leave time does not extend the
            12-week leave period. Further, in no case can the substitution of paid
            leave time for unpaid leave time result in your receipt of more than 100%
            of your salary. Your family/medical leave runs concurrently with other
            types of leave (i.e., paid vacation, state family leave laws, etc.). Those
            other leaves may provide for paid leave.



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    No Work While on Leave

       The taking of another job while on family/medical leave or any other
       authorized leave of absence is grounds for immediate termination, to the
       extent permitted by law.

    Return to Work and Reinstatement

       If you take leave because of your own serious health condition (except if you
       are taking intermittent leave), you are required to provide medical certification
       that you are fit to resume work. You may obtain Return to Work Medical
       Certification Forms from the Human Resources Department. Employees
       failing to provide the Return to Work Medical Certification Form will not be
       permitted to resume work until it is provided. In addition, you must give notice
       as soon as practicable (within two (2) business days if feasible) if the dates of
       leave change or are extended or initially were unknown.

       If the employee cannot return to work at the end of the employee’s FMLA
       leave, there is no guarantee of reinstatement. If an employee has been
       medically released to return to work and fails to report to work or call in with a
       satisfactory explanation, the Company will treat this as a voluntary
       resignation.

       If the employee returns to work on or before expiration of available FMLA
       leave, the employee will normally be returned to his or her former position or
       an equivalent position.

    Key Employees

       The FMLA provides a significant exemption for "key employees." The
       Company is not required to offer key employees reinstatement to a similar
       position following the end of their leave. Key employees are those salaried
       employees who are among the highest paid 10% of the employees paid by
       the Company within 75 miles of the facility at which the employee is
       employed and must be the highest paid 10% of all salaried and non-salaried,
       eligible and ineligible employees. Year-to-date earnings as of the date leave
       is requested are used to determine who are the highest paid.

       An eligible key employee may be denied reinstatement of employment after
       leave has been taken if:

       (1) such denial is necessary to avoid substantial and grievous economic
       injury to the operations of the Company,

       (2) the Company notified the key employee of its intent to deny restoration on
       such basis when the Company determined that such injury would occur, and



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      (3) if the leave has commenced, the employee elects not to return to
      employment after receiving such notice.

      The employee will be notified by the Company of his status as a key
      employee upon requesting leave if a chance exists that the Company may
      deny reinstatement after the leave.

      An employee may also be regarded as a key employee if the employee is the
      most highly compensated employee at a facility even if the employee is not
      among the highest paid 10% of the employees in the Company. If the
      employee is among the highest paid 10% of employees at a remote facility,
      the employee could be denied reinstatement of employment and benefits
      even if the employee's salary fell within the middle range of overall employee
      salaries.
   (Revised 09-17-08)

   New York Paid Family Leave

   Effective January 1, 2018 Highland and its affilates’ New York-based employees
   are covered under the New York Paid Family Leave Policy. Please see separate
   New York Paid Family Leave Policy for details.
   (Revised 06-14-18)

   Jury or Witness Leave

   An employee who is summoned to serve on a jury will be allowed time off to fulfill
   his or her civic duty. Employees must use Personal Time Off (PTO) for any time
   away from work while serving on a jury. This policy is subject to review by the
   President on a case-by-case basis.

   As soon you receive the summons, present it to your supervisor so that
   arrangements can be made for your absence. If you are released from jury duty
   during a workday, you are expected to return to work. Upon completion of jury
   duty, bring your supervisor the court-issued receipt, if one is available, reflecting
   the day(s) of service.

   An employee who receives a subpoena to serve as a witness in a civil, criminal,
   legislative or administrative proceeding will be given time off. Employees must use
   PTO for time away from work while serving as a witness unless the employee is
   testifying on behalf of Highland or one of its Affiliates. This policy is subject to
   review by the President on a case-by-case basis.
   (Revised 09-17-08)

   Voting Leave

   Highland encourages its employees who are eligible voters to exercise their right
   to vote in general, primary and special elections at the federal, state and local

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   level. The Company will provide time off in which to vote if you do not have two
   consecutive nonworking hours while the polls are open, which is generally 7 a.m.
   to 7 p.m., on Election Day. If you do not have two consecutive nonworking hours
   while the polls are open, and have not voted early or absentee, you must notify
   your supervisor at least one day before Election Day. Your supervisor will
   designate a time, either at the start or end of your normal workday, in which to
   vote. You may be asked to provide proof that you have voted if you were absent
   during your regular work hours.

   Military Leave

   As required by the Uniformed Services Employment and Reemployment Rights
   Act of 1994 ("USERRA"), Highland's applicants and employees who apply or
   perform military service, whether on a voluntary or involuntary basis, will not be
   denied initial employment, reemployment, retention in employment, promotion or
   any benefit of employment on the basis of the performance of military service.

   Eligible military service includes performance of a duty on a voluntary or
   involuntary basis in a uniformed service, including active duty, active duty for
   training, initial active duty for training, inactive duty training, full-time National
   Guard duty, and a period of time for which the employee is absent to determine
   fitness for duty or to perform funeral honors duty.

   Any employee who enters the uniformed services of the United States will be
   granted a military leave of absence. To qualify for reemployment, an employee
   must have:

         Given Highland written or verbal notice in advance of service, unless the
          giving of notice is precluded by military necessity;

         A cumulative length of absence, including any previous military absence
          while employed by Highland, which does not exceed five years; and

         Applied for reemployment with Highland according to these guidelines:




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         Length of Period of Service                  Reapply No Later Than
                                                      Next regular work day after
                                                      completion of service and
                                                      time to travel from place of
        Less than 31 days
                                                      service to residence, plus
                                                      eight hours.
        More than 30 days, but less                   Fourteen days after
        than 181 days                                 completion of service.
                                                      Ninety days after
        More than 180 days
                                                      completion of service.

   Upon reemployment, the employee will be placed in the position he or she would
   have attained were it not for the break in employment, unless the employee is not
   qualified to perform that job and cannot be trained through reasonable efforts of
   Highland. If not so qualified, the employee will be placed in the position the
   employee held when the military leave commenced, or a position of like seniority,
   status and pay. If a disability incurred during or aggravated by military service
   prevents the employee from performing the job he or she would have held were it
   not for the break in service, despite Highland efforts at reasonable accommodation
   of the disability, the employee will be placed in a position of like seniority, status
   and pay, if one is available. If no such position is available, the employee will be
   placed in a job which is the nearest approximation of like seniority, status and pay.
   Military leaves are unpaid, but the employee may use accrued PTO, floating
   holidays, etc. pay during the absence. Employees will be allowed to continue
   health care coverage at their current level of coverage by paying the employee
   contribution during the absence. Coverage will continue until the earlier of
   (1) twenty-four months from the date the military absence began; or (2) the day
   after the date on which the employee was to have applied for reemployment, as
   defined above. Upon reemployment, any break in employment due to military
   service will not be treated as a break in service for purposes of determining
   forfeiture of accrued benefits and accrual of benefits under any retirement plan.

   Limitation On Leaves Of Absence

   Except as required by law, if any employee away from work on a leave of absence
   of any type does not return to work, or is unable to return to work to an available
   position for which the employee is qualified for any reason (including, without
   limitation, for lack of a health care provider’s release to return to work), within six
   (6) months of the date the absence commenced, the employee’s employment will
   automatically terminate at the end of the six month leave period. A “leave of
   absence” is defined as an approved absence from work under specific
   circumstances for a defined period of time.



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   This policy applies from the date of its implementation, June 2006, forward. It
   applies to all current and future employees, including, without limitation,
   employees currently out on a leave of absence.

   Employees whose employment terminates under this policy are welcome to re-
   apply for employment after their discharge.



               OTHER IMPORTANT HIGHLAND POLICIES &
                   EMPLOYEE RESPONSIBILITIES
   Attendance

   Occasionally it may be necessary for you to be absent from work as a result of
   illness or unavoidable personal reasons. In the case of an unexpected absence,
   you are expected to notify your supervisor as soon as possible, and no later than
   an hour before your normal starting time.

   If you fail to follow proper procedures for notifying Highland of your absence, the
   absence may be considered unexcused. Unexcused absence can result in
   disciplinary action up to and including termination of employment. In addition,
   Highland will consider three consecutive days of unexcused, unapproved absence
   to be a voluntary termination of employment. Excused absences will be charged
   to your PTO accounts depending on the reason for your absence.

   TimeKeeper

Please see separate TimeKeeper Policy for details.

   Professional Appearance

   Highland employees should maintain a neat and professional appearance at all
   times in the office, with clients, at work-related activities, at company-sponsored
   events, or at any meetings/events where the employee is representing Highland.

   On most days, Highland has a Semi-Business Casual dress policy. However,
   there are times that employees will be required to follow a Business Casual dress
   policy. Highland will generally attempt to notify employees when Business Casual
   dress is required. There may also be days throughout the year where the more
   formal business attire (suit, tie, dress) will be required. However, in all work-
   related situations, employees should use good judgment to determine appropriate
   dress and maintain a well-groomed appearance. Employees should approach
   their manager or Human Resources with any questions regarding appropriate
   professional appearance.

   The employee’s manager or Human Resources has the sole discretion to
   determine appropriateness in appearance. Employees who do not meet a

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   professional standard may be sent home to change and may not be paid for that
   time off. Violations of this policy may result in corrective action.

      General Guidelines

                Clothing should be worn and fit in such a manner that it is not
                 revealing or suggestive (e.g., does not expose the abdomen, chest
                 or back, etc.).     Employees should avoid wearing tank tops,
                 sleeveless shirts, halter tops, strapless tops, spaghetti straps, crop
                 tops, and clothing made out of see-through material.

                Clothing should not be excessively tight or form-fitting nor
                 excessively baggy or loose.

                Clothing should not be distracting or offensive. Clothing should be
                 free from sexually-related references, foul language, or the
                 suggestion or promotion of the use of illegal drugs.

                Clothing should be neat, clean and in good condition. Employees
                 should avoid clothing that has holes, is torn or is ripped.

                Skirts and dresses should be of appropriate and tasteful length.

                Body piercing jewelry should be limited to jewelry on the ear. No
                 other body piercing jewelry should be visible.

                Jewelry, make-up, and perfume or cologne should be used in good
                 taste and clothes should be free from offending odors.

      Semi-Business Casual Attire

      The following are guidelines of what may generally be considered acceptable
      Semi-Business Casual attire and are the minimum dress requirements which
      are expected from all employees any day of the workweek:

                It would be appropriate to wear jeans, khakis, casual slacks and
                 trousers, and casual skirts or dresses for women. Clothing should
                 not be torn or ripped in any way.

                Appropriate tops include long sleeve button-up shirts with collars,
                 long-sleeve blouses, sweaters, and turtlenecks. During the months of
                 May through September, short sleeve button-up shirts, short sleeve
                 blouses, and polo style shirts with a collar are acceptable. All other
                 months, any short sleeved attire must be worn with a cover up (i.e.
                 cardigan, blazer, jacket, sweater, & etc.).

                Closed toed shoes must be worn by men, and women can wear
                 open toed shoes with a strap, and must have polished and

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                 presentable toes. Conservative athletic or walking shoes, loafers,
                 boots, flats, and dress heels are acceptable.

                It would not be appropriate to wear shorts, sweatpants, T-shirts, flip
                 flops, sandals or hats/caps.

      Business Casual Attire

      The following guidelines define acceptable Business Casual attire which is
      expected from all employees on days that are designated as Business
      Casual dress:

                It would be appropriate to wear khakis, casual slacks, dress slacks,
                 and dress skirts or dresses for women.

                Appropriate tops include long sleeve button-up shirts with collars,
                 long sleeve blouses, or sweater sets.

                Closed toed dress shoes must be worn by men. Open toed shoes
                 worn by women are acceptable as long as they have a strap on the
                 top.

                It would not be appropriate to wear short sleeve shirts, jeans, shorts,
                 sweatpants, T-shirts, flip flops, sandals, athletic shoes, open toe
                 shoes or open heel, or hats/cap.
    (Revised 04-28-17)

   Information Technology Acceptable Use Policy

   Highland provides computer systems and various other equipment and information
   systems to employees at the Company's expense in order for employees to
   access information for the benefit of the Company and its customers. This
   includes, but is not limited to, personal computers (e.g., desktops, laptops, and
   tablets), email, Internet, Intranet, telephones, cellular phones, facsimile, voicemail,
   PDAs, smart phones (e.g., iPhones and similar Android devices). Every employee
   is expected to use these tools in a productive, appropriate, and responsible
   manner to maintain and enhance the Company's image, and in accordance with
   Company policies. The following guidelines are established toward meeting this
   purpose.

      Acceptable Uses

      The Company's electronic communications systems are part of the business
      technology platform and are primarily intended to be used for business
      purposes. Limited, reasonable, and appropriate use of these systems for
      personal purposes is allowed.

      Unacceptable Uses

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      General:

        These systems are not to be used for personal gain or the advancement of
        individual views. All messages must be communicated using your name and not
        an assumed name. The Company forbids the storage, transmission or viewing of
        "adult materials" on any Company system or in any other form, whether done on
        the Company's premises or using the Company's equipment. Creating, sending
        or forwarding verbal or graphic messages which are intimidating, harassing,
        offensive, profane or hostile on the basis of race, gender, color, national origin,
        religion, disability, age or any other protected status is also prohibited. These
        systems may not be used for gambling, participation in chat rooms, and viewing
        webcams or excessive personal use. Also, any investment research opinions,
        conclusions and/or advice distributed to outside parties via anonymous or broad
        distribution such as email or chat rooms are prohibited.
        The Company recognizes that the use of a cell/smart phone while driving a
        motor vehicle can cause distraction to the driver, which can result in accident
        and injury. Employees are required to comply with all state and local laws
        regarding the use of cell/smart phones while driving in the course of performing
        any duties for the Company, including receiving or making any cellular, digital or
        other wireless business calls while driving at any time. Whenever possible,
        employees should not make or receive any telephone calls while driving in the
        course of business for the Company, nor should employees make or receive
        business-related telephone calls while driving at any time. Employees should let
        incoming calls go to their voicemail and then find a safe place to pull over and
        park before initiating a call. If phone usage while driving is unavoidable, a
        hands-free device must be utilized. Further, under no circumstances should
        employees use phones, even with a hands-free device, while driving in adverse
        weather or difficult traffic conditions. The Company takes its cell/smart phone
        usage policy seriously. Any violations of this policy will subject employees to
        corrective action, up to and including termination of employment.

      Internet:

        Highland maintains a strict internet usage policy. All internet access is based
        upon business need and specific site approval. The following actions as it
        pertains to internet access are strictly prohibited:

              Attempting to bypass Highland IT security systems, including the firewall and
               proxy, in an effort to gain unapproved internet access.

              Accessing public proxy sites that would allow bypassing internet security
               systems.

              Modifying your computer or network in any way, including adjunctive
               hardware or telecom equipment, allowing for unfettered internet access.



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              Using any remote control software to remote to external sources in order to
               gain internet access.

      Computer Usage:

              Installing software on your computer without first gaining approval of the
               Highland IT department is strictly prohibited.

              Removing network documents, either from network share or the mail system,
               either through removable media or mail transmission, and transporting them
               outside company premises is strictly prohibited unless explicit authorization
               has been granted by your manager.

              Installing tools that would allow you remote access to your computer from
               outside the Highland corporate LAN is strictly prohibited.

      Security Issues:

        All messages created, sent or retrieved on the Company's systems are
        the property of Highland. All electronic data stored, sent, received or
        created on Highland's computer system or other electronic equipment is
        the exclusive property of Highland and can be accessed by Highland at
        any time. Employees do not have privacy right in any matter that is
        stored, created, sent or retrieved on the Company's systems. The
        Company will monitor these systems and access any message in order to
        assure superior service to our customers and to enforce this policy. You
        must provide your password(s) to the Company, as your mailbox may
        need to be accessed in your absence. You must not, however, disclose
        your password, messages or other information gained via the Company's
        systems to unauthorized personnel. Consider the proprietary or
        confidential nature of the Company's and its customers' information
        before relaying it via email. Do not presume that the information will be
        kept confidential. To minimize the introduction of viruses into the
        Company's systems, all downloads will be done through Highland’s IT
        department.

      Copyright Issues:

        Copyrighted materials, including but not limited to software, belonging to
        entities other than the Company may not be copied or transmitted on the
        Internet or via email. Failure to observe copyright or license agreements
        may result in disciplinary action by the Company, legal action by the
        copyright or license owner, or both.

        Any investment research opinions, conclusions and/or advice can only be
        released outside the office through authorized channels and for normal
        authorized business purposes.


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   Engaging in an unacceptable use of the Company's systems will result
   in disciplinary action, up to and including immediate discharge from
   employment without prior warning.
   (Revised 12-16-16)

   Workplace Audio and Video Recording Policy

      Purpose
      An employee’s use of audio and video recording can pose risks to the protection
      of Highland Capital Management, L.P.’s and its affiliates’ (“Highland” or the
      “Company”) confidential and proprietary information, reputation, and brands,
      together with those of its clients and the investors therein. More troublesome, it
      can jeopardize the Company’s compliance with business rules and laws. At the
      same time, Highland recognizes that in some limited cases, such as for authorized
      marketing activities, video and audio recording can provide a unique opportunity to
      participate in interactive communication and share information on particular topics
      using a wide variety of social media, such as Facebook, LinkedIn, Twitter,
      Pinterest, Tumblr, blogs, and wikis, of course to the extent used consistent with
      Company policy.

      To minimize these business and legal risks, avoid loss of productivity and
      distraction from employees’ job performance, and ensure that the Company’s, its
      clients and the investors’ therein confidential data and sensitive information are
      protected, Highland expects its employees to adhere to the following guidelines
      and rules regarding video and audio recording.

      Restrictions on Employee Audio and Video Recording
      Unauthorized audio or video recording of employees is disruptive to employee
      morale and inconsistent with the respectful treatment required of the Company’s
      employees. For this reason, no employee may record the conversation of another
      employee or service provider without his or her full knowledge and consent. In
      addition, the employee planning to record another employee or service provider
      must request consent in advance for any recording from Human Resources and
      receive written consent (via email is acceptable) from Human Resources prior to
      recording. Secret recordings are strictly prohibited.

    In addition, the following policies should be kept in mind:
     Employees are prohibited from bringing cameras, tape recorders, or other audio
        or visual recording devices into areas where client privacy may be compromised.
        Please note that cell phones with camera, video and audio recording capabilities
        are permitted, however, the video and audio recording functions are prohibited
        from use.




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        Employees may only record workplace activities where such recording would not
         be prohibited by law, does not compromise confidential information, and does
         not violate this policy as described above.

        Any recordings made, whether or not in accordance with this policy, shall at all
         times remain the exclusive property of the Company. Accordingly, Employees
         are required to surrender to Human Resources originals of any such recordings
         immediately following creation. Furthermore, no copies of any such recordings
         made be retained or otherwise distributed by Employee, except to the extent (i)
         expressly permitted under this policy, (ii) expressly permitted in writing by
         Highland’s Human Resources department, or (iii) as may be required under
         applicable law. Employees agree to surrender to Highland’s Director of IT any
         electronic equipment or other media upon which any non-permitted copies may
         be stored or contained so that such deletion can be confirmed.

    Any violation of this provision may result in disciplinary action up to termination.

        Scope
        This policy is not intended to preclude or dissuade employees from engaging in
        legally protected activities/activities protected by state or federal law, including the
        National Labor Relations Act, or from making disclosures that are protected under
        whistleblower provisions of law.

        Company Monitoring
        Highland may find it necessary to monitor work areas with security cameras when
        there is a specific job- or business-related reason to do so. The Company will do
        so only after first ensuring that such action is in compliance with state and federal
        laws. Highland reserves the right to install security cameras in work areas for
        specific business reasons, such as security, theft protection, or protection of
        proprietary information.

        Employees should not have any expectation of privacy in work-related areas.
        Employee privacy in non-work areas will be respected to the extent possible.

        If an employee suspects one or more employees may be conducting unauthorized
        recordings, they must contact Highland’s Human Resource department
        immediately.

        Employees should contact their supervisor or the human resource department if
        they have questions about this policy.

(Revised 01-05-17)




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   Safety and Health

   Highland is committed to providing a safe and healthy work environment. All work-
   related injuries and accidents, no matter how slight they may appear, must be
   reported at once to your supervisor. Please report all hazardous conditions and
   unsafe practices to Human Resources immediately.

   Drug and Alcohol Policy

   Please see separate Drug Testing Policy for details on Highland’s testing
   procedures and further prohibitions.

   It is Highland’s policy to provide a drug-free work environment. Employees who
   violate this policy will be subject to disciplinary action up to and including
   termination of employment.

      Illegal Drugs

      It is against Highland policy for employees, guests, and/or other third parties
      to unlawfully possess, use, purchase, manufacture, sell, dispense, distribute
      or be under the influence of any controlled substance in the workplace.
      "Illegal Drugs” and “Controlled substances" include but are not limited to
      illegal inhalants, amphetamines, barbiturates, cocaine, narcotics, opiates,
      heroin, morphine, codeine, methadone, PCP and other hallucinogens and
      marijuana. "Workplace" is defined as any and all premises and property
      owned, operated or managed by Highland or its Affiliates and includes any
      place where company business is conducted.

      Prescription Drugs

      The possession and use of prescription drugs in the workplace is permitted if
      such drugs are legally obtained and they are being used in the prescribed
      manner.

      Alcohol

      The possession, distribution, use or being under the influence of alcohol by
      Highland employees in the workplace or on Company business is strictly
      prohibited except at company sanctioned events so long as the event is
      authorized in advance by a department director and the alcohol is served and
      consumed in moderation. Under no circumstances should an employee
      operate a motor vehicle while impaired by alcohol.

      Highland encourages alcohol-free activities. However, in certain
      circumstances such as annual holiday parties, the entertainment of clients
      and business-related travel, the responsible consumption of alcoholic
      beverages by employees of lawful age may be permitted. Highland strongly
      encourages employees to drink non-alcoholic beverages, eat food when

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      consuming alcohol, stop the consumption of alcohol at least one hour before
      the end of the event and make arrangements for alternative transportation.
      After participating in a business-related event where alcoholic beverages are
      served, employees will be reimbursed for the reasonable cost of using
      alternate transportation to get home from the event.

      Fitness for duty

      Any employee that reports to work while intoxicated or who is found to be
      under the influence of alcohol or illegal drugs/controlled substances, or who is
      otherwise considered by his/her supervisor to be unfit for safe and effective
      performance of work will be subject to disciplinary action up to and including
      termination of employment. He/She will be prevented from entering or
      remaining in the workplace and/or will be sent home with alternative
      transportation, if appropriate.

      Assistance for Drug and Alcohol Abuse

      Employees are encouraged to seek treatment for drug and alcohol abuse and
      related problems from the Highland health plan.
      (Revised 09-17-08)

   Solicitation and Distribution

   In order to avoid disruption of work, no employee shall be permitted to engage in
   solicitation for any purpose during his or her working time or the working time of
   the person being solicited. Working time means time that employees are
   expected to be performing their job. Likewise, employees shall not engage in
   distribution of any material, during his or her working time or in working areas.
   Literature, notices, or other material of any kind may not be posted or distributed in
   the working areas of any employees at any time. Persons who are not employees
   of the Company will not be permitted to come upon Company premises for the
   purposes of making solicitations of any kind to employees, or posting or
   distributing literature, notices, messages, or material of any kind.

   Outside Employment ("Moonlighting") and Conflicts of Interest

   Outside employment ("moonlighting") by full time employees is discouraged and
   you must report outside employment to your supervisor. Approval for outside
   employment may be withdrawn if work performance or attendance becomes
   unsatisfactory. Outside employment that results in, or could potentially result in, a
   conflict of interest with Highland is expressly forbidden.

   Press and Media Relations

   Communications with the media regarding Highland must be managed via
   designated Highland communications personnel. Employees are not permitted to
   respond to media requests and enquiries without prior approval from designated

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   Highland communications personnel or Highland’s external public relations firm.
   This includes all on the record (attributed quotes/comments) and off the record (on
   background or anonymous) conversations. All requests from the media should be
   documented (name, contract information, subject matter) and passed on
   immediately to communications personnel via the Media Enquires email
   distribution list. This includes formal requests for interviews as well as enquiries,
   and includes all media – TV/radio, newspapers, magazines, local/national and
   trade media and internet sites. Communications personnel will either respond on
   Highland’s behalf, or assist in identifying the appropriate person from Highland to
   handle the response.

   Personal Representation in the Media

   It is recognized that from time to time, employees may be approached by the
   media on topics related to their personal interests or non-work related activities.
   Employees may participate in such interviews. However, in order to avoid any
   confusion about whether an employee is speaking on their own behalf or on behalf
   of Highland, employees may not reference Highland or their role with the
   company, unless they have obtained prior approval to do so from the Highland. In
   addition, employees must alert designated Highland communications personnel
   anytime they communicate with the media on topics related to their personal
   interests or non-work related activities.
   (Revised 04-17-2012)



   Personal Phone Calls

   Highland’s telephones are important business tools. As such, every effort should
   be made to minimize personal telephone usage. You are expected to reimburse
   Highland for any personal toll calls you make.

   Use and Care of Highland Assets and Records

   Company records and papers are valuable and confidential. You are expected to
   keep all records, files and valuables properly secured. No company records or
   equipment are to be taken from the premises without permission from your
   supervisor. Special care should be taken to secure electronic data by following
   appropriate procedures.

   Confidentiality

   Employees may have, may be furnished with or may have access to private
   information that relates to the financial condition of the company, trade secrets,
   trademarks, patents, proprietary databases and client lists, and other confidential
   information that is not easily available from public sources. Except for any
   information which at the time of disclosure to the employee was or thereafter
   became publicly available or a matter of public knowledge, all such information

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   shall be considered as proprietary and confidential. Employees will not disclose
   any proprietary information except in the course of their duties for the Company,
   and where the employee reasonably, and in good faith, believes that any such
   disclosure is in the best interests of the company. In addition, employees shall not
   remove proprietary or confidential information from the company's premises
   without a valid business purpose or use such information for their own benefit or
   for the benefit of a third party.

   Employees acknowledge that all proprietary and/or confidential information used
   or generated during the course of working for the company is the exclusive
   property of the company. Employees must deliver to the company all documents
   and other tangible items, including storage media containing proprietary or
   confidential information, including all copies of such documents or tangibles,
   immediately upon notice of termination of employment with the company.
   Employees assign the entire right, title and interest in any invention, technique,
   process, device, discovery, improvement or know-how for which a patent is
   obtained or that is patentable which is created using the company’s facilities,
   supplies, information, trade secrets or time which directly relates to the company's
   business or actual or anticipated research and development and directly results
   from any work performed by the employee. Nothing in this Handbook prohibits
   Employees from reporting possible violations of federal law or regulation to any
   government agency or entity or making other disclosures that are protected under
   whistleblower provisions of law. Employee does not need prior authorization to
   make such reports or disclosures and is not required to notify the Company that
   he/she has made any such report or disclosure.

   Notwithstanding the above, all employees will be required to sign a non-disclosure
   agreement (NDA) upon beginning employment. To the extent these provisions are
   inconsistent with the NDA, the NDA will govern all provisions.
   (Revised 12-16-16)

                              JOB PERFORMANCE
   General Expectations

   Your manager will clarify the expectations Highland has for you and for your job
   and the impact your performance has on the business. Communication, feedback
   and objectivity are important in ensuring your best performance and effective work
   relationships. You are expected to share in the responsibility for your success,
   your training and your career growth. Toward this end, Highland expects its
   employees to achieve results by:

                 •   Exceeding Performance Expectations
                 •   Demonstrating Initiative and Creativity
                 •   Making Continuous Improvements
                 •   Demonstrating Teamwork and Professionalism

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                 • Demonstrating Responsibility to Clients and
                   Community
   Problem Resolution

   Employees who believe they have a problem or situation affecting their work or job
   performance and who would like advice and counsel are encouraged to discuss
   these problems with Highland management, Human Resources, Compliance or
   Legal teams without fear of reprisal. If you are experiencing such a situation, you
   are urged to discuss the problem first with your immediate supervisor. You may
   submit a request, in writing or verbally, for a meeting with a second level
   supervisor or another upper level manager if the situation you have presented
   cannot be resolved by your immediate supervisor or if you believe it is
   inappropriate to raise the matter with your immediate supervisor. The Human
   Resources Department is also in a position to listen to and direct your concerns.
   An unresolved work-related problem may be pursued to the Executive
   Management level. Employees should describe the situation in writing in a letter to
   the senior manager of their department. All efforts will be made to review the
   situation quickly and arrive at a final decision.
   (Revised 03-29-17)

   Corrective and Disciplinary Action

   Highland employees are expected to maintain high standards of job performance
   and conduct. These standards may be applied in any situation deemed necessary
   by Highland, including but not limited to situations where the employee’s
   performance or conduct may impact Highland’s operations, reputation or
   relationship with clients. In the event that an employee’s performance or conduct
   fails to meet Company expectations, corrective action may be taken in the
   Company's sole discretion.

   Highland may utilize, but is not obligated to, one or more forms of corrective
   action, including but not limited to verbal warnings, written warnings, final warnings
   and/or immediate termination.

      Verbal Warning
        A verbal warning may be given by an employee’s manager regarding concerns
        about performance or conduct. The manager and/or employee may develop a
        plan for improvement.

      Written Warning
        A written warning is prepared by the manager and describes the performance
        or behavior issue and expected change. The manager and employee will
        discuss a plan for improvement and the consequence of failing to successfully
        complete the corrective action plan. The employee will sign the written
        warning to acknowledge that he/she has been notified of the concern.

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      Final Warning
        A final warning is given in situations which require corrective action just short
        of termination. The employee is notified through a final warning that any
        additional infractions or failure to successfully complete a corrective action
        plan will result in termination.

   Issues which may require corrective action will be determined by the Company on
   a case-by-case basis in its sole discretion, and may include, but are not limited to:
   substandard job performance, work of unacceptable quality or quantity, violations
   of company policies, misconduct, insubordination, unauthorized release of
   confidential information, threatening or disrespectful treatment of co-workers or
   clients, poor attitude, and unethical or illegal conduct.

   Performance or conduct problems can be addressed using a progressive
   approach so that the employee is given coaching and time to improve. However,
   this policy does not guarantee progressive corrective action and in some cases, in
   the Company's sole discretion, immediate termination may be warranted or
   appropriate, and nothing in this policy alters or should be construed to alter the at-
   will nature of employees' employment.
   (Revised 09-17-08)

   Causes for Corrective Action and/or Immediate Dismissal

   Listed below are some examples of performance or behavior which may result in
   immediate dismissal. (This list in not inclusive of all reasons for immediate
   dismissal and should not be construed as limiting Highland’s freedom to act in any
   way.)

              Failure to provide evidence of right to work at time of employment
              Unauthorized release of confidential information
              Intentional misrepresentation in order to receive Highland benefits
              Willful or negligent damage, destruction, theft or unauthorized use of
               Highland property
              Deliberate falsification of records or reports
              Unauthorized possession, distribution or use of weapons, drugs or
               alcohol while on Highland premises
              Immoral or indecent conduct while on Highland premises, or away
               from Highland’s premises which causes damage to the reputation of
               the Company
              Conviction for criminal conduct while employed by Highland
              Fighting or other disorderly conduct while on Highland premises
              Violation of Highland’s Equal Employment Opportunity on
               Harassment and Discrimination Policy

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               Excessive absence and/or lateness
               Violation of Highland’s IT Acceptable Use Policy
               Unsatisfactory job performance or behavior
               Violation of Highland’s Code of Ethics and Business Practices
               Being unfit for work as judged by your immediate supervisor
               Improper use of Highland leave or other benefits
               Solicitation and distribution during work hours
               Other violations of Highland policy
               Threatening or intimidating conduct

    References and Verification of Employment
The only personnel authorized to give recommendations on behalf of Highland for
former employees are Team Leaders and Back Office Leaders. No other
personnel are authorized to speak on behalf of Highland with regard to
recommendations.
    If a positive recommendation is not warranted for a former employee, the policy is
    to confirm only dates of employment, job title and salary for an employee or former
    employee and to provide no further information.
     (Revised 09-17-08)

                               LEAVING THE COMPANY

    Voluntary Termination

    To allow time to make proper arrangements in the work schedule and begin the
    process of recruitment, employees are requested to give at least two weeks notice
    of resignation or retirement, in writing. Employees are requested to give notice of
    resignation or retirement only when their direct supervisor is physically present in
    the office (i.e. not on vacation or a business trip).
    (Revised 03-26-09)

    Involuntary Termination

    Whenever possible and appropriate, you will be notified in advance of your
    termination date and informed by your supervisor of any benefits to which you are
    entitled. Immediate dismissal may be warranted in certain cases.

    Exit Interviews

    Whenever possible, an Exit Interview will be conducted when leaving the
    Company. Either the employee's immediate supervisor or Human Resources will
    conduct the interview. It is to your advantage to have this interview so that you
    may receive complete information on the benefits to which you are entitled and
    what procedures are applicable upon leaving Highland.


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   Return of Company Property

   On your last day of employment, you are required to return all company property to
   Human Resources. Company property includes all keys, equipment, office
   supplies and any other materials that are owned or leased by Highland.
   Employees must deliver to the company all documents and other tangible items,
   including storage media, containing proprietary information, including all copies of
   such documents or tangibles, immediately upon notice of termination of
   employment with the company. Any questions regarding this policy should be
   directed to your supervisor or Human Resources.
   (Revised 09-17-08)

   Benefits Continuation (COBRA)

   The Consolidated Omnibus Budget Reconciliation Act (COBRA) ensures that an
   employee who faces a reduction of work hours or who is terminated from Highland
   (for reasons other than gross misconduct) has the option to continue Health/
   Dental coverage for a fixed period of time at his/her own expense. This law is
   specifically designed to help bridge any gap which you or your dependents might
   experience if you end your employment with the company, if your hours are
   reduced making you no longer eligible for insurance coverage, or if the status of
   your marital or dependent relationships change.

   To the extent required by law, you may continue your coverage under Highland’s
   Health / Dental plan. The cost of COBRA coverage is borne entirely by you. You
   will be notified of your COBRA rights soon after termination and will then be
   required to either accept or reject COBRA continuation. See Human Resources
   for further details.

   Post-Employment       Contact    with    Investors,     Prospective   Investors,       and
   Counterparties

   Effective immediately, upon the earlier of notice of resignation or termination of
   employment, and continuing for thirty (30) calendar days following the earlier of
   notice of resignation or termination of employment (the “Non-Contact Period”),
   former employees are prohibited from contacting any of Highland Capital
   Management, L.P. (“Highland” or the “Company”) or its Affiliates’ (including any
   other corporation, partnership, limited liability company, joint venture, or other
   entity of which an aggregate of 25 percent or more of the issues and outstanding
   capital stock or other equity interest is now or at any time afterward owned, of
   record or beneficially, directly or indirectly, by Highland) (the “Affiliates”), current
   investors, prospective investors, or current counterparties without receiving
   advance written permission from Highland. Regardless of the duration of an
   employee’s notice of resignation period, in no event shall the Non-Contact Period
   extend less than fourteen (14) days following termination of employment. For
   purposes of this policy, current investors include any investing entity or individual
   who has invested with Highland or its Affiliates within the subject former

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   employee’s previous twenty-four (24) months of employment, and prospective
   investors include any investing entity or individual contacted by Highland or its
   Affiliates regarding a potential investment within the subject former employee’s
   previous twenty-four (24) months of employment, regardless of whether that entity
   or individual ultimately invested. For purposes of this policy, investors do not
   include individuals who are solely invested in Highland’s or its Affiliates’ retail
   funds. All Highland employees must enter into and agree to this policy as a
   condition of employment. However, Highland reserves the right to enforce this
   policy only against employees that it so chooses, and Highland will notify those
   employees accordingly at the appropriate time.

   In order to receive consideration for permission to contact current investors,
   prospective investors or counterparties, former employees must submit a written
   request via e-mail or physical mail to Highland’s Human Resources Department,
   HR@hcmlp.com or Human Resources, 300 Crescent Court, Suite 700, Dallas, TX
   75201, at least fourteen (14) days in advance of any proposed contact. Such
   request must include the name of the entity or individual that the former employee
   wishes to contact and state the purpose of the proposed contact. Former
   employees will then be notified, in writing (at their last known e-mail address or
   mailing address), whether permission has been granted. Should current investors,
   prospective investors or counterparties contact former employees (without former
   employees contacting them first), former employees must immediately notify
   Highland’s Human Resources Department (at the above addresses), in writing, of
   the contact and request permission from Highland to respond if they so desire.
   Former employees will then be notified, in writing (at their last known e-mail or
   mailing address), whether permission has been granted.

   Employees who terminate with either at least two weeks notice of resignation or
   who are involuntarily terminated are entitled to their regular base pay for the
   duration of the Non-Contact Period that follows their last day of employment,
   subject to their adherence to this policy. Employees who resign without at least
   two weeks notice are not eligible for their base pay during the Non-Contact Period.

   Adherence to this policy is also a material condition of former employees being
   entitled to and receiving payment for any paid time off (“PTO”) that is accrued but
   unused as of the conclusion of employment. If former employees fully adhere to
   this policy for the entirety of the Non-Contact Period, they will receive payment for
   any accrued but unused PTO within ten (10) business days following the
   proscribed period.

   This policy is understood to be clear and enforceable as written. However, should
   any former employee later challenge any provision as unclear, unenforceable, or
   inapplicable to any contact that former employee intends to engage in, he or she
   will first notify Highland’s Human Resources Department (at the above addresses),
   in writing, and meet with a Highland representative to discuss resolution of any
   disputes between the parties. Former employees will provide this notification at
   least fourteen (14) days before they engage in any activity contact that could

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   foreseeably fall within a questioned restriction. The failure to comply with this
   requirement shall waive former employees’ rights to challenge the reasonable
   scope, clarity, applicability, or enforceability of this policy and its restrictions at a
   later time. All rights of both parties will be preserved if this early resolution
   conference requirement is complied with even if no agreement is reached in the
   conference.

   If employees are not chosen by Highland to have this policy enforced against
   them, they are not entitled to receive additional base pay beyond the conclusion of
   their employment, and the condition of adherence to this policy to receive payment
   for any accrued but unused PTO is inapplicable. By entering into and agreeing to
   this policy, you expressly acknowledge and agree that any and all investor and
   counterparty information you have acquired or will acquire during your employment
   with Highland, including, but not limited to, investor and counterparty contact
   information, is Highland’s confidential and proprietary information and property,
   and, moreover, because you are entering into this policy, Highland will be
   providing you with additional confidential and proprietary information, including, but
   not limited to investor and counterparty contact information, which you would not
   otherwise be entitled to. Finally, you expressly acknowledge and agree that the
   covenants contained herein are reasonable and necessary agreements for the
   protection of Highland and its Affiliates’ business interests covered in the fully
   enforceable, ancillary agreements set forth in this policy.
   (Revised 06-22-17)




  HIGHLAND CODE OF ETHICS AND BUSINESS PRACTICES
   Introduction

   Highland employees are expected to maintain the highest standards of ethical
   conduct and professionalism. Employees are expected to:
              perform all job duties and responsibilities with integrity and in good faith;
              engage in and encourage honesty at all times;
              make every effort to exercise good judgment in all matters;
              comply with all applicable laws, rules and regulations;
              avoid actual or potential conflicts of interest between personal and
               professional relationships;
              uphold the firm’s public image and reputation;
              treat every individual with respect, dignity, and courtesy;
              maintain truthfulness in all communication so as to preserve the trust of
               other employees, clients, the public, etc.;
              abide by the Company's moonlighting policies and expend all of
               their regular business time and efforts to the business of the Company,


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               avoid creating any conflict of interest with the Company or otherwise
               contravening their duty of loyalty to the Company; and
              safeguard the confidentiality of all Company information and materials.

   The Code of Ethics and Business Practices is not exhaustive and is not designed
   to anticipate every situation. Highland will interpret and apply these standards as it
   deems appropriate. Compliance with this Code of Ethics and Business Practices
   is a condition of employment. Failure to adhere to this Code of Ethics and
   Business Practices can result in corrective or disciplinary action, up to and
   including termination. Violations of this Code of Ethics and Business Practices
   may also constitute violations of law, which may expose both the employee and
   the firm to criminal or civil penalties.

   Actual or potential violations of this Code of Ethics and Business Practices must
   be promptly reported to the employee’s manager, Human Resources, or the Chief
   Compliance Officer. Highland prohibits retaliation for reports of ethical misconduct
   that are made in good faith.
   (Revised 09-17-08)

   Proper Recording Of Assets And Disbursements

   Making false or fictitious entries on the books and records of Highland and/or
   issuing false or misleading reports about Highland and its operations, whether
   intentionally or in a grossly negligent manner, are prohibited. No employee shall
   knowingly engage in any transaction that requires or contemplates such prohibited
   activities. All funds, disbursements, assets and liabilities of Highland shall be
   accurately recorded on the appropriate corporate books and records.

   Business Solicitation Practices

   All business solicitations by Highland employees must be in accordance with
   Highland’s approved business plans. If a representative of a business contact or
   potential business contact makes overtures or suggests that a Highland employee
   make any direct or indirect payment, gift or gratuity in order to obtain business,
   such an overture or suggestion must be reported to the Chief Compliance Officer.
   However, the extension of normal business courtesies in accordance with ethical
   business practices is not prohibited.

   Relationships With Government Officials

   No payment (including business gifts, business meals and reimbursements of any
   expenses) shall be made to any federal, state or local government official or
   employee in circumstances where it may be construed as an attempt to influence
   the judgment of the recipient or to obtain preferential treatment for Highland.




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   Conflicts Of Interest - Outside Activities

   A Highland employee:

              May not engage in an outside interest, activity or investment that places
               his or her economic interests in significant, actual or potential conflict
               with those of Highland except for those activities that are approved by
               the Chief Compliance Officer; or

              May not solicit or accept salaries, fees, commissions or other types of
               compensation, rebate or reward from contractors, suppliers, customers,
               consultants, or other persons, firms or organizations doing business with
               Highland.

   Political Campaign Laws

   No political contribution, at any level of government, shall be made out of any
   Highland fund or account, whether directly or indirectly, by reimbursement or
   otherwise without the express prior approval of Highland’s President and Chief
   Compliance Officer. No corporate political contribution of any kind shall be made
   in violation of any applicable law or regulation. However, nothing in Highland’s
   policies prohibits employees from engaging in political activities in their individual
   capacities on their own time and at their own expense or from making political
   contributions or expenditures of their own personal funds.
   (Revised 09-17-08)

   Antitrust Law And Competitive Practices

   National antitrust laws and regulations (including but not limited to the Hart-Scott-
   Rodino pre-merger notification requirements) shall, where applicable, be observed
   at all times, in all situations, by all employees of Highland. Particularly, price-fixing
   or bid-rigging acts or arrangements with competitors to divide or allocate markets
   or customers or exclude others from a market are absolutely prohibited.

   Trade Secrets And Other Proprietary Information

   All Highland employees must act affirmatively to maintain the confidentiality of
   Highland’s trade secrets and proprietary information. Some of the types of
   information that must be kept confidential (unless disclosure is properly
   authorized) include proprietary software, customer and tenant lists, investor lists,
   planning materials, marketing plans and much of the technical information that
   Highland generates in its business.

   Compliance With Laws And Regulations

   All activities of Highland shall be conducted in compliance with all applicable laws
   and regulations of the United States (federal, state and local) and of the countries
   where Highland might transact business.

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   Implementation

   Any questions about interpretation of this Code of Ethics and Business Practices,
   or any need for legal advice concerning compliance with this Code or about any
   law or regulation to which Highland is subject, should be referred to the President.

   Trading Policy

   Please refer to the separate Highland Capital Management, L.P. Compliance
   Manual and Highland Capital Management, L.P. Personal Trading Policy for
   details.




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   HIGHLAND EMPLOYEE HANDBOOK ACKNOWLEDGMENT
                      FORM

           Highland Employee Handbook and "Employment at Will"
  INSTRUCTIONS:

  This form must be completed and signed by all Highland Capital Management, L.P.
  (“Highland”) employees within 15 days of receipt. By signing this form you are
  acknowledging that you have received, read and understand the Highland Employee
  Handbook (“Handbook”) and also that your employment with Highland is at-will.

  Please READ, SIGN and RETURN to Human Resources:

  I have received a copy of the Handbook. I understand it is my responsibility to read
  the Handbook and to bring any questions I may have about its provisions to my
  supervisor, Human Resources, or an appropriate member of Highland senior
  management prior to signing this acknowledgment. I further understand that if I do
  not abide by the policies and procedures outlined in the Handbook that my actions
  might result in the termination of my employment at Highland.

  I understand that Highland may change, modify, amend, add to or subtract from any
  or all of the contents of this Handbook at any time, in its sole discretion, and with or
  without notice, and that this Handbook replaces and supersedes any previous
  Handbooks that I have received or that have been issued by Highland. I understand
  I will be required to read and acknowledge this Handbook on at least an annual
  basis.

  I understand that absent a signed written agreement by the President of Highland
  providing a guaranteed term of employment, my employment with Highland is at-will,
  which means it is not for any guaranteed period of time and is terminable at any
  time by either Highland or myself. Accordingly, I understand that Highland may
  terminate my employment at any time with or without cause and with or without
  notice. Further, I understand that neither the Handbook, any other company
  documents, nor any oral agreement or representation by an employee or
  representative of Highland constitutes an employment contract or guarantee of
  employment for any period of time, or otherwise alters the at-will nature of my
  employment at Highland. No one at Highland, other than the President of its
  general partner, may alter or change the at-will nature of the employment
  relationship, and then only by a written agreement signed by the President.



  _________________________            ______________________           ______________
   Employee Name                       Signature                        Date

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